                Case 2:10-cr-00851-CCC                                          Document 243                             Filed 09/27/12                         Page 1 of 1 PageID: 2507

  41:1t.CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT APPOINTED COUNSEL
 I. CIR./DIST./ DIY. CODE                                                                                                                              VOUCHER NUMBER
                   0312
 3. MAG. DKT./DEF. NUMBER                                                                                              5. APPEALS DKT./DEF. NUMBER                              6. OTHER DKT. NUMBER

 7. IN CASE/MATTER OF (Case Name)                                                                                      9. TYPE PERSON REPRESENTED                               10. REPRESENTATION TYPE
                                                                                                                       x Adult Defendant                   0 Appellant                (See Instructions)
      U.S.A. v. DEPIRO, et al                                                                                          0 Juvenile Defendant
                                                                                                                          Other
                                                                                                                                                           0 Appellee                 cc
 II. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If more than one offense, list (up to five) major offenses charged, according to severity of offense.
      18:1951(a) & 2                EXTORTION
 12. ATTORNEY'S NAME (First Name, M.l., Last Name, including any sujfu),                                               13. COURT ORDER
     AND MAILING ADDRESS                                                                                                X 0 Appointing Counsel                                  D C Co-Counsel
      MICHAEL PEDICINI, Esq                                                                                             D F Subs For Federal Defender                           DR Subs For Retained Attorney
                                                                                                                        D P Subs For Panel Attorney                             D Y Standby Counsel
      60 Washington Street
      Morristown, NJ 07960                                                                                            Prior Attorney's
                                                                                                                          Appointment Dates: - - - - - - - - - - - - -
                                                                                                                        0 Because the above-named person represented has testified under oath or has otherwise
      Telephone Number:                                       973-285-1555                                                            satisfied this Court that he or e (I) is financially unable to employ counsel and (2) does not
                                                                                                                                      wish to waive counsel, an       ause the interests of justice so require, the attorney whose
1-1-4-.-N-AME--A-ND~-MA---IL...IN....,..G_AD               "oF_L_A_,W....,..F-IRM--(O_n_l~y-p-ro-v-id_e_p-er-,-.n-st_ru_c_ti-on_s_)-~ name appears in It
                                         ___D'""R'""E_S_s'"___                                                                                                I ts pointed to represent this person in this case, OR
                                                                                                                        D Other (See        st eli s)




                                                                                                                                   27 September 2012                                             25 July 2012
                                                                                                                                      Date of Order                               Nunc Pro Tunc Date
                                                                                                                      Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                                      appointment.        0 YES 0 NO


        CATEGORIES (Attach itemization of services with dates)




19.                                                                                                                                                                                         21. CASE DISPOSITION

                                                                TO:
22. CLAIM STATUS                        D Final Payment                     D Interim Payment Number                                                        D Supplemental Payment
      Have you previously applied to the court for compensation and/or reimbursement for this ~ YES           0 NO           If yes, were you paid?    D YES        D NO
      Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything of value) from any other source in connection with this
      representation? 0 YES         0 NO             If yes, give details on additional sheets.
      I swear or affirm the truth or correctness of the above statements.
                                                                                                                                                                 Date


                                                                                                                                                                               27. TOTAL AMT. APPR./CERT.


28. SIGNATURE OF THE PRESIDING JUDICIAL OFFICER                                                                                DATE                                            28a. JUDGE/MAG. JUDGE CODE


29. IN COURT COMP.                          30. OUT OF COURT COMP.                   31. TRAVEL EXPENSES                       32. OTHER EXPENSES                              33. TOTAL AMT. APPROVED


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